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      Case 8:04-cr-00330-JSM-TGW Document 131 Filed 06/06/05 Page 2 of 5 PageID 453
A 0 3458 (Rev. 12/03) Sheet 4 - Probation

Defendant:         NADlA IBRAHIM HAMMOUDEH                                                             Judg~nent- Page 2of 5
Case No.:          8:03-cr-330-T-30TGW
                                                             PROBATION

After considering the advisory senter~cirrgguidelines and all of the factors identified in 'I'itle I8 U.S.C. $$3553(a)(l)-(7), the court
finds that the senterm imposed is sul'ficieot, but not greater than necessary, t o conlply with the stirtutory purposes of sentencing.

T h e defendant is hereby pl;rced on probation for a term of FIVE (5)YEARS as t o Counts One, Four irnd Ten of the Indictment;
all such terms to run concurrently.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.

         The mandatory drug testing requirements of the Violent Crime Control Act are waived. However, the Court authorizes random
         drug testing not to exceed 101 tests per year.

         The defendant, having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed by the
         probation officer.

         If this judgment imposes a fine or a restitution, it is a condition of probation that h e defendant pay in accordance with the
         Schedule of Payments sheet of this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
         conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
         the defendant shall not leave the judicial district without the permission of the court or probation officer;

         the defendant shall report to the probation officer as directed by the court or probation oSficer and shall submit a truthful and
         complete written report within the first five days of each month;

         the defendant shall answer truthfully all inquiries by the probation officer 'and follow the instruction of the probation officer:

         the defendant shall support his or her dependents and meet other family responsibilities;

         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, o r
         other acceptable reasons;

         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance. or any paraphernalia related to any controlled substances, except as prescribed by a physician;

         the defendant shall not frequent places where controlled substances are illegally sold, used. distributed. or administered;

         the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony, unless granted permission to do so by the probation officer:

         the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
         of any contraband observed in plain view by the probation officer;

         the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer:

         the defendan[ shall not cntcr inlo any agreemen1 to act as an informer or a special ,Igcnr of ;I law enforceinent agency w~thout
         the perm~ssionof ilw court;

         as Jircctcd by the probation officer, the defendant shall notify rhird parlies of risks III;II may be occnsionetl by the defendant's
         criminal recordor personal hispry or char:icteristi.cs, q d shall permit the probation officer to make such notifications and to
         confirm the defendant's compl~nncewith such notificatron requirement.
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A 0 245B (Rev 12/03) Shsrr 4C - Probarion

Defendant:           NADlA IBRAlIIM HAMMOUDEH                                                        Jutlgmcnt - Page 3of 5
Case No.:            8:Wcr-330-T-30TGW




                                            SPECIAL CONDITIONS OF SUPERVISION


The defendnnt shall also comply with the following additional conditions of probation:

-
X         The defendant shall be prohibited from incurring new credit charges. opening addition;~llines of credit, acquisitions or
          obligating himself/herself for any major purchases without approval of the probation officer.

-
X         The defendant shall provide the probation officer access to any requested financial information.

X
-         If the defendant is deported, she shall not be allowed to re-enter the United States without the express permission of the
          appropriate governmental authority.

-
X         The defendant shall cooperare with the Internal Revenue Service regarding all outstanding taxes, interest. and penalties relating
          to the offense of conviction.
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A0 2456 (Rev 12103) Sheet 5 - Criminal hlonr~aryPcnaldrs

Defendant:          NADIA IRRAHlhl HAhlhIOUDEH                                                           Jud_gment - Page 4 of 5
Case No.:           8:Wr-330-T-30TGW

                                               CKIJIINAL AIOhiTARY PENALTIES

          The defendant must pay thc total criniinal monetary penalties under the schedule of payments on Sheet 6 .
                               Assessment                            -
                                                                     Fine                        Total Restitution

                                                                     IVaived                     $8,027 or an amount to be cletermined
                                                                                                 by thc Internal Revenue Service


-         The determination of restitution is deferred until
          be entered after such determination.
                                                                 -.            An An~enrledJlrclgrneni it1 n Criu~imzlCase ( A 0 245C) will

-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment. each payee shall receive an approximately proportioned payment, unless
          specified otherwise in the priority order or ercentaoe payinenr colun~nbelow. However. pursuant to 18 U.S.C. 8
          3664(i), all nonfederal victims musr be paifbefore % United States.
                                                                                                                 Priority Order or
                                                     *Total                       Aniount of                     Percentage of
                                                   A~nourltof Loss             Rest it ution Ordered             Pavment




                              Totals:              -
                                                   S                           -
                                                                               5

-         Restitution amount ordered pursuant to plea agreement S
          The defendanr shall ay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in fill1
-
          before the fifteenth   Ay
                                 after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment opttons on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. (i 3612(g).
-         The coun determined that the defendant does not have the ability to pay interest and ir is ordered that:
          -         the interest requirement is waived for the - fine           - restitution.
          -         the interesr requirement for the - fine - restitution is modified as follows:


* Findings for rhe total amount of losses are required under Chapters 109A. 1 10, 1 IOA, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
      Case 8:04-cr-00330-JSM-TGW Document 131 Filed 06/06/05 Page 5 of 5 PageID 456
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Paynients

Defendant:         NADIA IBRAtIIM IIAMMOUDEH                                                  .ludgn~enl- Page jof 5
Case No.:          8:04-cr-330-T-30TGW


                                                   SCHEDULE OF PAYALENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

         X         Lump sum payment of S 300.00 due immediately, balance due
                             -not later than                    , or
                             - in accordance        - C, - D, - E or - F below: or
         -         Payment to begin immediately (may be combined with -C. - D, or                             F below): or
         -         Payment in equal                 (e.g.. weekly. monthly. quarterly) installments of S            over a
                   period of          (e.g., months or years), to commence             days (e.g., 30 or 60 days) after the
                   date of this judgment: or
         -         Payment in equal               (e.g., weekly, monthly. quarterly) installments of S              over a
                   period of
                                   .
                                 (e.g.. months or years) to commence                    (e.g. 30 or 60 days) after release
                   from imprisonment to a term of supervision: or
         -         Payment during the term of supervised release will commence within                         (e.g., 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
         -
         X Special instructions regarding the payment of criminal monetary pe~iallies:
         Payment schedule to be determined by the Internal Revenue Service regarding restitution amount.




Unless the court has expressly ordered otherwise, if this judgment imposes a period of in1                           payment of criminal
          penalties is due during im risonment. All criminal monetary penalties, except                                made through the
moneta%                                  g
Federal ureau of Prisons' lnmate inancial Responsibility Program. are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount. and corresponding payee. if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:

                                                                                                      r :"Y
The Court orders that the defendant forfeit to thc U~iitedStares inirncdiately and volu~lt:~ril and all assets and property,
or portions thereof, suhjcct to fnrfciture. which arc in the possession or control of I lc cfeliclant or the tlefrndant's
nominees.



Payments shall bc i~pplicdin rhc following order: I 1 ) aswssmcnr, (2) rcsiitution principal, ( 3 ) rcs~itutioninrcrcst. ( 4 ) finc princ~pal.
(5) communiry rcstirution. (6) fine intercsr (7)penaltic\. :uld (8) cosrs. including cost of prc~sccurionand court cosrs
